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AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case                                                               FILED
                                                                                                                   OCT O,.4 2021
                                        UNITED STATES DISTRICT Co
                                               SOUTHERN DISTRICT OF CALIFORNIA                                                  ICTCOUAT
                                                                                                                                  CALIFORNIA
                UNITED STATES OF AMERICA                                                                   EP�u!!J
                                                                        JUDGMENT IN A cRhm1tt1:;-t���-..fo!§   rvc.J
                           V.                                           (For Offenses Committed On or After November I, 1987)
             JULIAN LORENZO VILLA-GOMEZ (1)
                                                                           Case Number: 3 :21-CR-00765-TWR

                                                                        Peter Blair
                                                                        Defendant's Attorney
USM Number                           9671 9-298
 □-
THE DEFENDANT:
C8l pleaded guilty to count(s)              1 of the Information

 D  was found guilty on count(s)
    after a olea of not guiltv.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):

        Title and Section / Nature of Offense                                                         Count
        8:1324(a)(l)(A)(ii) -Transportation Of Certain Aliens                                         1




      The defendant is sentenced as provided in pages 2 through                    3           of this judgment.
 The sentence is imposed pursuant to the Sentencing Reform Act of 1 984.
 D The defendant has been found not guilty on count(s)
 C8l Count(s) 2 of the Information                                 is           dismissed on the motion of the United States.

 C8:]    Assessment : $100.00 imposed


 C8l      NTA Assessment*: $ 5,000.00 imposed

          *Justice for Victims of Trafficking Act of 2015, Pub. L. No. 1 14-22.
  C8J No fine                       □
                               Forfeiture pursuant to order filed                                      , included herein.
        IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
 change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
 judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
 any material change in the defendant's economic circumstances.

                                                                         October 1, 2021
                                                                         Date
                                                                                ��

                                                                         HON. TODD W. ROBINSON
                                                                         UNITED STATES DISTRICT JUDGE
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   DEFENDANT:               Julian Lorenzo Villa-Gomez (I)                                                Judgment - Page 2 of 4
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                                                        PROBATION
The defendant is hereby sentenced to probation for a term of:
4 years

                                            MANDATORY CONDITIONS
I. The defendant must not commit another federal, state or local crime.
2. The defendant must not unlawfully possess a controlled substance.
3. The defendant must not illegally possess a controlled substance. The defendant must refrain from any unlawful use of a
     controlled substance. The defendant must submit to one drug test within 15 days of release from imprisonment and at least
     two periodic drug tests thereafter as determined by the court. Testing requirements will not exceed submission of more
     than 4 drug tests per month during the term of supervision, unless otherwise ordered by the court.
         □   The above drug testing condition is suspended, based on the court's determination that the defendant poses a low
             risk of future substance abuse. (check if applicable)
4.  □   The defendant must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing
     a sentence of restitution. (check if applicable)
5. 0The defendant must cooperate in the collection of DNA as directed by the probation officer. ( check if applicable)
6.  □   The defendant must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. §
     20901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in
     the location where the defendant resides, works, is a student, or was convicted of a qualifying offense. (check if
     applicable)
7.  □   The defendant must participate in an approved program for domestic violence. (check if applicable)
8. The defendant must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
9. If this judgment imposes a fine, the defendant must pay in accordance with the Fine sheet of this judgment.
I 0. The defendant must notify the court of any material change in their economic circumstances that might affect their ability
     to pay restitution, fines, or special assessments.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any other
conditions on the attached page.




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                                     STANDARD CONDITIONS OF SUPERVISION
As part ofthe defendant's probation, the defendant must comply with the following standard conditions of supervision.
These conditions are imposed because they establish the basic expectations for the defendant's behavior while on
supervision and identify the minimum tools needed by probation officers to keep informed, report to the court about,
and bring about improvements in the defendant's conduct and condition.

I . The defendant must report to the probation office in the federal judicial district where they are authorized to reside within 72
    hours of their release from imprisonment, unless the probation officer instructs the defendant to report to a different probation
    office or within a different time frame.

2. After initially reporting to the probation office, the defendant will receive instructions from the court or the probation officer
   about how and when the defendant must report to the probation officer, and the defendant must report to the probation officer
   as instructed.

3. The defendant must not knowingly leave the federal judicial district where the defendant is authorized to reside without first
   getting permission from the court or the probation officer.

4. The defendant must answer truthfully the questions asked by their probation officer.

5. The defendant must live at a place approved by the probation officer. If the defendant plans to change where they live or
   anything about their living arrangements (such as the people living with the defendant), the defendant must notify the
   probation officer at least 10 days before the change. If notifying the probation officer in advance is not possible due to
   unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware of a change or
   expected change.

6. The defendant must allow the probation officer to visit them at any time at their home or elsewhere, and the defendant must
   permit the probation officer to take any items prohibited by the conditions of their supervision that he or she observes in plain
   view.

7. The defendant must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
   excuses the defendant from doing so. If the defendant does not have full-time employment the defendant must try to fmd full­
   time employment, unless the probation officer excuses the defendant from doing so. If the defendant plans to change where the
   defendant works or anything about their work (such as their position or their job responsibilities), the defendant must notify the
   probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible
   due to unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware of a
   change or expected change.

8. The defendant must not communicate or interact with someone they know is engaged in criminal activity. Ifthe defendant
   knows someone has been convicted of a felony, they must not knowingly communicate or interact with that person without
   first getting the permission of the probation officer.

9. If the defendant is arrested or questioned by a law enforcement officer, the defendant must notify the probation officer within 72 hours.

 10. The defendant must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
     anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such
     as nunchakus or tasers).

 1 1 . The defendant must not act or make any agreement with a law enforcement agency to act as a confidential human source or
       informant without first getting the permission ofthe court.

 12. Ifthe probation officer determines the defendant poses a risk to another person (including an organization), the probation
     officer may require the defendant to notify the person about the risk and the defendant must comply with that instruction.
     The probation officer may contact the person and confirm that the defendant notified the person about the risk.

 13. The defendant must follow the instructions of the probation officer related to the conditions of supervision.



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                               SPECIAL CONDITIONS OF SUPERVISION

1 . Work conscientiously at a suitable place of employment or pursue conscientiously a course of
study or vocational training that will equip you for suitable employment.

2. Refrain from the excessive use of alcohol or any use of a narcotic drug or controlled substance,
as defined in Section 102 of the Controlled Substances Act (21 U.S.C. Sec. 802), without a prescription by
a licensed medical practitioner.

3 . Perform a minimum of 120 hours of community service as approved by your probation. Ifthe defendant enlists
in the United States Army (or any military branch of service), all remaining hours shall be waived.



II




                                                                                          3:21-CR-00765-TWR
